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Dear Justice Mehta,


While I address the honorable justice, I also want to address the American people on this matter.
I felt something historical unfolding, yet I didn’t realize what exactly it was that was unfolding. I
wanted to capture the moments and catalog what I was seeing. I wanted to inform my family,
friends, and community back at home about what I was witnessing. Yet, I allowed myself to be
completely caught up and carried away. — I am so very sorry for what I done. For choosing to
trust one single man, the President. For failing to read my surroundings appropriately. For not
knowing when to walk away. For making decisions that hurt my country. For saying, texting,
things that were untrue. For putting myself in a situation I could not understand nor grasp. I
neglected one of America’s most valued rights, the right to protest. I went too far. I was highly
irresponsible. At a time we needed unity, my choices brought division. I will forever regret that. I
spend many nights pondering on this great failure of mine. No horror have I ever experienced
has frightened me more than the recollections of that day. I can’t make sense of why I stepped
out of my character and betrayed my morals. I’ve attempted to understand how, but can’t seem to
put my finger on it. Nonetheless, I was wrong and out of line.


Yet, my terrible decisions that day have made me reanalyze my life. Growing up, God, family,
and my country were the bedrock of my life. A couple years leading up to J6, I had departed
from that bedrock, namely the church. Today, I can report to this court that I am a much better
young man than I have ever been, standing concretely upon that bedrock. My faith is
significantly stronger, and I continue to strengthen my relationship with God each day. I am
more patient, I talk less, and I listen more. I now value differences of opinions. I am more
politically diverse and adaptive. I am more considerate, loving, and forgiving. I value family and
friends more. I treasure my country more, and now remorsefully love my country.


I have always desired to serve my country in some way. But on January 6, 2021, I threw dirt on
the very nation I sought to serve. Now, I must clean up the mess that I have helped cause.
Perhaps my servitude to my country, now, is that of a janitor’s work. I shall humbly scrub the
floors. From this moment, I will devote every minute of my days, few or many, to the decency in
which my citizenship requires. I am determined to labor for our nation’s unity, bridging our
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divides. I will make ending America’s polarization my struggle. I will tirelessly endeavor for a
more perfect union. America is my home and I love her dearly. — I am sincerely and terribly
sorry for what I have done and the disgrace that I have brought.


Men and women of various police departments, namely the US Capitol police, endured a great
deal of hardship on January 6th. They were incredibly overwhelmed and extremely outnumbered.
The officers courageously done their best to protect our nation’s Capitol, some were even injured
in their stand. For this, I am disgusted to have been a part of that infamous, terrible day. My
respect and need for law enforcement is deeply woven into me. I have nothing but the greatest
admiration for those who are willing to selflessly serve the public, protecting them from harm.
Furthermore, I want to acknowledge those who died that day. Whether through medical demise
or directly from the protest, I sincerely commit my condolences and pray dearly for the families
of the lost. I feel morally obligated to extend my deepest heart felt sorrow for all these things.


I can beg for this court’s mercy, I can cry out for forgiveness, but I do not deserve such a plea.
Rather, I can only simply request for this court’s grace. Though for context, your Honor, I have a
wonderful future with my current employer. I enjoy working and at 25 years of age, I am mining
out my own success and doing the best I can with what I have to ensure I make a good living.
There is promising growth for me, and I am so eager to grow. If incarcerated, this opportunity
will subsequently dissolve as I would be terminated. Considering my felony conviction, I may
not retain such a future again once being released from prison. Furthermore, I wish not to burden
the American citizens any more than I already have. I humbly request from you to allow me to
pay my own way and tend to myself, with limited freedoms, rather than eating up valuable
taxpayer’s resources and money in a penitentiary. Incarceration would likely deepen me into a
poor statistic yet permitting me to grow in my current position at work, under alternate
punishments, will allow me to overcome the statistics. I have greatly learned from my mistake.
The court process alone, not to mention the negative media reporting, has proved to be an
adequate deterrence for myself. I vow before this Court, the American people, and God that I
will never commit such an act ever again. In fact, I will live a life indebted to what is morally
good, to the law, and to God.
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Lastly, I ask for this Court’s forgiveness, for the American people’s forgiveness, and for the US
government’s forgiveness. I may not attain it today, but I promise to strive for the day I might. I
am sorry.


Sincerely,
Matthew M. Wood
